
Whitlock, J.
If the defendant had pleaded a release of the assumpsit: and the plaintiff had pleaded a request, which had been found for him; the declaration would have been well, by admission. Still the declaration is the ground of the suit, and if it is bad, no subsequent plea will make it well. But in debt a licet fœpius requisitus is sufficient, for it is not traversable: because the delivering of the declaration which is prœcipe, is a *sufficient demand. 30 El. rot. 464. Old and Eostgrew's case. Tr. 16. Jac. rot. 268. A special request ought to have been said. Jones 86. 3 Bulst. 297. Bendl. 157. 162. Poph. 160 Vin. 112. Hut. 73. Roll. 476. 3 Cr. 386, 3 Leon. 200.
